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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CRIMINAL NO. C-10-1128-10
                                            §
JOHNNY JOE GUERRA                           §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

         The evidence against the defendant meets the probable cause standard.        The

defendant is facing a ten-year minimum mandatory sentence if convicted. The findings

and conclusions contained in the Pretrial Services Report, Paragraphs one through six, are

adopted as the court’s own. Thirteen firearms were discovered in the same house which

contained the methamphetamine which is the subject of Count Five of the indictment. A

search warrant executed on the home of Mr. Guerra turned up two hidden and loaded

firearms, and recorded phone conversations reflect that defendant Guerra believed he


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needed firearms to conduct his business. The defendant is a member and one of the

leaders of the Raza Unida Gang, a prison gang which has ties to the drug cartels in

Mexico. He is a poor bond risk, and has not rebutted the presumption that he is a threat

to the safety of the community and a risk of flight.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 22nd day of December, 2010.


                                              ___________________________________
                                              B. JANICE ELLINGTON
                                              UNITED STATES MAGISTRATE JUDGE




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